                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

Larry Blakney,                        )
                                      )              C/A No. 6:21-cv-01936-DCC
                          Petitioner, )
                                      )
v.                                    )
                                      )
United States of America,             )                  ORDER
                                      )
                          Respondent. )
_____________________________________ )

       Petitioner, proceeding pro se, is seeking habeas corpus relief pursuant to 28

U.S.C. ' 2241. ECF No. 1. In accordance with 28 U.S.C. ' 636(b) and Local Civil Rule

73.02(B)(2), (D.S.C.), this matter was referred to United States Magistrate Judge Kevin

F. McDonald for pre-trial proceedings and a Report and Recommendation (AReport@). On

August 10, 2021, the Magistrate Judge issued a Report recommending that the petition

be transferred to the United States District Court for the Eastern District of North Carolina

because Petitioner is currently incarcerated at a Federal Medical Center in Butner, North

Carolina. ECF No. 8. The Magistrate Judge advised Plaintiff of the procedures and

requirements for filing objections to the Report and the serious consequences if he failed

to do so. Petitioner failed to file objections and the time in which to do so has lapsed. 1

       The Magistrate Judge makes only a recommendation to this Court.                   The

recommendation has no presumptive weight, and the responsibility to make a final


       1The Court notes that the order ruling on Petitioner’s motion for leave to proceed
in forma pauperis and the Report were returned as undeliverable. ECF No. 10.



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determination remains with the Court. See Mathews v. Weber, 423 U.S. 261 (1976). The

Court is charged with making a de novo determination of any portion of the Report of the

Magistrate Judge to which a specific objection is made. The Court may accept, reject, or

modify, in whole or in part, the recommendation made by the Magistrate Judge or

recommit the matter to the Magistrate Judge with instructions. See 28 U.S.C. ' 636(b).

The Court will review the Report only for clear error in the absence of an objection. See

Diamond v. Colonial Life & Accident Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (stating

that Ain the absence of timely filed objection, a district court need not conduct a de novo

review, but instead must only satisfy itself that there is no clear error on the face of the

record in order to accept the recommendation.@ (citation omitted)).

       As stated by the Magistrate Judge, the proper party respondent is generally the

“person who has the immediate custody of the party detained, with the power to produce

the body of such party before the court or judge.” Rumsfeld v. Padilla, 542 U.S. 426,

434–35 (2004) (citation omitted). “When a petitioner files a § 2241 petition in a court

lacking jurisdiction, ‘the court shall, if it is in the interest of justice, transfer such action’ to

a court in which the petitioner could have properly filed the petition.” United States v.

Mullinax, 706 F. App'x 134 (4th Cir. 2017) (quoting 28 U.S.C. § 1631 (2012)). Typically,

“‘transfer will be in the interest of justice because normally dismissal of an action that

could be brought elsewhere is time-consuming and justice-defeating.’” Hendrickson v.

United States, 791 F.3d 354, 363 (2d Cir. 2015) (quoting Miller v. Hambrick, 905 F.2d

259, 262 (9th Cir. 1990)). Accordingly, transfer is proper in this case.




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       Accordingly, the Court finds that the Magistrate Judge accurately summarized the

relevant facts and applicable law and adopts the Report. It is ordered that the Petition be

transferred to the United States District Court for the Eastern District of North Carolina for

further consideration.

       IT IS SO ORDERED.

                                                         s/ Donald C. Coggins, Jr.
                                                         United States District Judge
October 25, 2021
Spartanburg, South Carolina




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